               Case
     Fill in this       19-65768-wlh
                  information                  Doc
                              to identify your case:   1   Filed 10/02/19 Entered 10/02/19 10:12:47                              Desc Main
                                                           Document      Page 1 of 19
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Georgia      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Star Chain, Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               11735 Pointe Place                                       _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Roswell                       GA    30076
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Fulton County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Star Chain, Inc.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            7225
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                             is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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              Star Chain, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999
                                             ✔




                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Star Chain, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million
                                                                                   ✔
                                                                                                                           $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              10/02/2019
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Omer Casurluk
                                                _____________________________________________              Omer Casurluk
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Will Geer
                                                _____________________________________________             Date          10/02/2019
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Will Geer
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Wiggam & Geer, LLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                50 Hurt Plaza, SE, Suite 1150
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Atlanta
                                               ____________________________________________________             GA             30303
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                404-233-9800
                                               ____________________________________                              wgeer@wiggamgeer.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                940493                                                          GA
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
               Case 19-65768-wlh                 Doc 1        Filed 10/02/19 Entered 10/02/19 10:12:47                               Desc Main
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      Fill in this information to identify the case:

                    Star Chain, Inc.
      Debtor name __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):     _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     Healty International                                                 Monies Loaned /
1    11735 Pointe Place                                                   Advanced
                                                                                                                                                       2,500,000.00
     Roswell, GA, 30076


     Customized Distribution, LLC
2    605 Selig Dr SW # A
                                                                                                                                                       1,305,396.83
     Atlanta, GA, 30336

     Hutton QSR, LLC                                                      Monies Loaned /
3    736 Cherry St.                                                       Advanced
                                                                                                                                                       1,000,000.00
     Chattanooga, TN, 37402


     Spring Home Builders, Inc.                                           Monies Loaned /
4    11735 Pointe Place                                                   Advanced
                                                                                                                                                       960,000.00
     Roswell, GA, 30076


     MTN2, LLC                                                            Monies Loaned /
5    PO BOX 10007                                                         Advanced
                                                                                                                                                       750,000.00
     Murfreesboro, TN, 37129

     MBU Development Holdings, LLC                                        Monies Loaned /
6    1 Churchhill Plac                                                    Advanced
     Canary Wharf                                                                                                                                      500,000.00
     London, United Kingdom, E14 5HP


     Captain D's, LLC                                                     Monies Loaned /
7    624 Grassmere Park Drive                                             Advanced
     Suite 30                                                                                                                                          400,000.00
     Nashville, TN, 37211

     Ravsan Mirzoyev                                                      Monies Loaned /
8    174 Rutherford PL                                                    Advanced
                                                                                                                                                       360,000.00
     North Arlington, NJ, 07031




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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                    Star Chain, Inc.
    Debtor         _______________________________________________________                        Case number (if known)_____________________________________
                   Name




     Name of creditor and complete             Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     ATA International, LLC                                               Monies Loaned /
9    c/o Alan Scheiderman                                                 Advanced
     1935 CLIFF VALLEY STE. 118                                                                                                                          250,000.00
     Atlanta, GA, 30329

     Augusta Burgers Express, Inc.                                                                 Disputed
10 3540 WHEELER ROAD,#514                                                                          Contingent
                                                                                                                                                         238,221.39
     Augusta, GA, 30909


     McLane Company
11 2085 Midway Road
                                                                                                                                                         235,104.35
     Carrolton, TX, 75006

     Ertan Orbay                                                          Monies Loaned /
12 6240 Westfall Pkwy                                                     Advanced
                                                                                                                                                         200,000.00
     Cumming, GA, 30040


     Balsayat Jaroyeva                                                    Monies Loaned /
13 8100 River Roa,d Apt. 505
                                                                          Advanced
                                                                                                                                                         200,000.00
     North Bergen, NJ, 07047

     Huseyin Civan                                                        Monies Loaned /
14 4501 Avalon Blvd                                                       Advanced
                                                                                                                                                         65,000.00
     Alpharetta, GA, 30009

     FreshPoint                                                           Suppliers or Vendors
15 1200 Oakley Industrial Blvd Ste B
                                                                                                                                                         43,584.05
     Fairburn, GA, 30213

     Carolina-Georgia Sound, Inc.                                         Services
16 3062 Damascus Rd
                                                                                                                                                         36,913.01
     Augusta, GA, 30909

     Bimbo QSR Ohio, LLC                                                  Suppliers or Vendors
17 3005 East Pointe Drive
     Zanesville, OH, 43701                                                                                                                               36,849.02


     Wasserstrom Restaurant Supply                                        Suppliers or Vendors
18 P.O. Box 182056
                                                                                                                                                         32,644.93
     Columbus, OH, 43218

     Ahmed H. Zaki, C.P.A., P.C.                                          Services
19 2434 GA-120 Ste 110
     Duluth, GA, 30097                                                                                                                                   25,860.00


     Bainbridge Management Inc
20 890 F Atlanta St # 235
                                                                                                                                                         21,739.00
     Roswell, GA, 30075




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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1384 Madison, LLC                                   Affordable Allergy Testing
153-37 76th Road                                    283 Swanson Dr.
Flushing, NY 11367                                  Lawrenceville, GA 30043


A & A Refrigeration                                 Affordable Maintenance
201 48th St.                                        4672 Dixie Dr
Moline, IL 61265                                    Jackson, MS 39209


A-Econo Rooter                                      Agile Consulting Group Inc.
Po Box 24604                                        7535 S. SPALDING LAKE DR.
Little Rock, AR 72221                               Atlanta, GA 30350


ADS Security, LLC                                   Ahmed H. Zaki, C.P.A., P.C.
289 S Culver St                                     2434 GA-120 Ste 110
Lawrenceville, GA 30046                             Duluth, GA 30097


ADT, Inc.                                           Airgas National Carbonation
1501 Yamato Road                                    3101 Stafford Dr
Boca Raton, FL 33431                                Charlotte, NC 28208


AEO, Inc.                                           American Lock & Safe
77 Hot Metal Street                                 4541 S Rhett Ave
Pittsburgh, PA 15203                                North Charleston, SC 29405


ARC3 Gases Inc                                      American Solutions for Business
1660 US-301                                         PO Box 218
Dunn, NC 28334                                      Glenwood, MN 56334


AT&T                                                Amtrust North America, Inc.
PO Box 537104                                       59 Maiden Lane
Atlanta, GA 30353                                   New York, NY 10038


ATA International, LLC                              Amur Equipment Finance, Inc.
c/o Alan Scheiderman                                308 N Locust St # 100
1935 CLIFF VALLEY STE. 118                          Grand Island, NE 68801
Atlanta, GA 30329

                                                    Arkansas Department of Revenue
AWS Distributing, Inc.                              PO Box 1272
30W270 Butterfield Rd Suite 110                     Little Rock, AR 72203
Warrenville, IL 60555

                                                    Arrow Exterminators
Adams Outdoor Advertising                           192 Anderson Street SE, Suite 125
3801 Capital City Blvd.                             Marietta, GA 30060
Lansing, MI 48096

                                                    Arrow Grounds Maintenance & Landscaping, LLC
Advanced Disposal Services, Inc.                    701 S Laurel St.
90 Fort Wade Road, Suite 200                        Summerville, SC 29483
Ponte Vedra, FL 32081
Case 19-65768-wlh               Doc 1   Filed 10/02/19 Entered 10/02/19 10:12:47               Desc Main
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Atlanta Office Technologies, Inc.                      Bimbo Bakeries USA
5600 Oakbrook Pkwy                                     P. O. Box 976
Norcross, GA 30093                                     Horsham, PA 19044


Atlantic Pit Services Inc.                             Bimbo QSR Ohio, LLC
185 Industrial Park Cir                                3005 East Pointe Drive
Lawrenceville, GA 30046                                Zanesville, OH 43701


Atmos Energy                                           Black River Electric Cooperative Inc.
P.O. Box 650205                                        1121 N Pike W
Dallas, TX 75265                                       Sumter, SC 29153


Augusta Burgers Express, Inc.                          Byline Bank
3540 WHEELER ROAD,#514                                 180 North LaSalle Street
Augusta, GA 30909                                      Chicago, IL 60601


Augusta Equities, LLC                                  CIT Bank, N.A.
Po Box 3094                                            1 CIT Drive
Florence, OR 97439                                     Livingston, NJ 07039


Augusta Utilities                                      COGA HOLDINGS, LLC
452 Walker St.                                         2960 Sugarloaf Club Dr
Augusta, GA 30901                                      Duluth, GA 30097


Austell Gas System                                     Captain D's, LLC
2838 Joe Jerkins Blvd.                                 624 Grassmere Park Drive
Austell, GA 30106                                      Suite 30
                                                       Nashville, TN 37211

B & C Communications
1740 Harmon Ave                                        Captain D's, LLC
Suite F                                                624 Grassmere Park Drive
Columbus, OH 43223                                     Nashville, TN 37211


Bainbridge Management Inc                              Carolina-Georgia Sound, Inc.
890 F Atlanta St # 235                                 3062 Damascus Rd
Roswell, GA 30075                                      Augusta, GA 30909


Balsayat Jaroyeva                                      Centerpoint Energy, Inc.
8100 River Roa,d Apt. 505                              P.O. Box 4981
North Bergen, NJ 07047                                 Houston, TX 77210


Beltram Edge Tool Supply, Inc.                         Century Fire Protection, LLC
6800 North Florida Avenue                              2450 Satellite Blvd
Tampa, FL 33604                                        Duluth, GA 30096


Bestech                                                Charleston Water System
207 Commerce Drive Suite 401                           103 St Philip St
Dallas, GA 30132                                       Charleston, SC 29403
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Checkers Drive-In Restaurants, Inc.                   Clayton County Water Authority
4300 West Cypress St. Suite 600                       1600 Battle Creek Rd #430
Tampa, FL 33607                                       Morrow, GA 30260


Chrome Capital                                        Cobb County Water System
821 WOODMERE CT APT 3C                                660 S Cobb Dr
Woodmere, NY 11598                                    Marietta, GA 30060


Cintas Corporate Services, Inc.                       Cobb EMC
40 TECHNOLOGY PARKWAY SOUTH, SUITE 300                1000 Emc Pkwy NE
Norcross, GA 30092                                    Marietta, GA 30060


City of Atlanta Department of Watershed Management    Coca-Cola North America
72 Marietta St NW                                     P.O. Box 1734
Atlanta, GA 30303                                     Atlanta, GA 30301


City of Clayton                                       Comcast, Inc.
837 US-76                                             1701 JFK Blvd.
Clayton, GA 30525                                     Philadelphia, PA 19103


City of Fayetteville                                  Commercial Electronics
Fayetteville, GA 30214                                4020 Clairmont Rd
                                                      Chamblee, GA 30341

City of Forest Park
745 Forest Parkway                                    Constellation NewEnergy, Inc.
Forest Park, GA 30297                                 2985 GORDY PARKWAY, 1ST FLOOR
                                                      Marietta, GA 30066

City of Gainesville
300 Henry Ward Way                                    Consulting-A-Solutions LLC
Gainesville, GA 30501

                                                      Corporate Consultants of America
City of Griffin                                       14117 Cypress Cir
100 S Hill St.                                        Tampa, FL 33618
Griffin, GA 30223

                                                      Crunchtime Information System, Inc
City of Milledgeville                                 129 Portland St 5th floor
P.O. Box 1900                                         Boston, MA 2114


City of North Augusta                                 Customized Distribution, LLC
100 Georgia Ave                                       605 Selig Dr SW # A
North Augusta, SC 29841                               Atlanta, GA 30336


City of Sumter                                        Cutters Landscape Management
21 N Main St                                          506 Main St
Sumter, SC 29150                                      Palmetto, GA 30268


City of Toccoa                                        Dale Harris- Gasket Guy
92 North Alexander Street                             2578 Old Rockbridge Road
Toccoa, GA 30577                                      Norcross, GA 30087
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Dale Vieau                                             Drain Doctor LLC
377 St. Charles Place                                  715 Bush St Suite C2
Cottageville, SC 29435                                 Roswell, GA 30075


Dallas Growth Capital and Funding, LLC d/b/a/ Sprout   Duke Energy
Funding                                                550 S Tryon St
4890 Alpha Rd                                          Charlotte, NC 28202
Dallas, TX 75244

                                                       E.S.S., Inc.
Darling Ingredients Inc                                2368 Lahinch Ct NW
5601 N MacArthur Blvd                                  Kennesaw, GA 30152
Irving, TX 75038

                                                       EIN Cap, Inc.
Dekalb County                                          160 PEARL ST FL 5
1300 Commerce Drive                                    New York, NY 10005
Decatur, GA 30030

                                                       Easley Combined Utilities
Dekalb County Finance                                  110 Peachtree St
PO Box 71224                                           Easley, SC 29640
Charlotte, NC 28272

                                                       Easy-As-Pye Lawn Care, Inc
Derst Baking Co, LLC                                   417 Hastings Pl
Savannah, GA 31405                                     Martinez, GA 30907


Destiny Fire & Safety                                  Ecolab
437 Serenity Walk                                      1 Ecolab Place
McDonough, GA 30252                                    St. Paul, MN 55102


Dominion Energy                                        Ecolab Food Safety Specialties
PO Box 100255                                          1 Ecolab Place
Columbia, SC 29202                                     St. Paul, MN 55102


Donald E. & Linda J Ludy                               Ed Hines Landscape, Inc
28548 Woollomes Road                                   4245 N Blackstock Rd
Wasco, CA 93280                                        Spartanburg, SC 29301


Donlen                                                 Elarbee, Thompson, Sapp& Wilson, LLP
3000 Lakeside Dr                                       229 Peachtree St
Bannockburn, IL 60015                                  Atlanta, GA 30303


Dot It Restaurant Fullfillment                         Electro Freeze Mid Atlantic
2001 E Randol Mill Rd Ste. 117                         8142 NC-42
Arlington, TX 76011                                    Kenly, NC 27542


Dr Amir Lamei                                          Entergy
10930 Crabapple Rd.                                    425 W Capitol Ave
Suite 106                                              Little Rock, AR 72201
Roswell, GA 30075
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Enviro-Master Services, LLC                              FreshPoint
5200 77 Center Dr Suite 500                              1200 Oakley Industrial Blvd Ste B
Charlotte, NC 28217                                      Fairburn, GA 30213


Ertan Orbay                                              GEL Funding, LLC a/k/a Chrome Capital
6240 Westfall Pkwy                                       5308 13th Avenue Suite 324
Cumming, GA 30040                                        Brooklyn, NY 11219


F & S Landscape                                          GFX International
1493 Jones Road                                          333 Barron Blvd
Cataula, GA 31804                                        Grayslake, IL 60030


FC Enterprises, Inc.                                     GRP Media, Inc
2199 GLENMORE LANE                                       Chicago, IL 60611
Snellville, GA 30078

                                                         Gasket Guy Of Charleston
FTC                                                      411 Wando Park Blvd Suite A
PO Box 743076                                            Mt Pleasant, SC 29464
Atlanta, GA 30374

                                                         Gecko Hospitality
Faysal Tunc                                              2431 First St
c/o Aaron Chausmer                                       Fort Meyers, FL 33901
205 Corporate Center Drive, Suite B
Stockbridge, GA 30281
                                                         George Weist d.b.a. Roto-Rooter Plumbers
                                                         2500 First Financial Center
FedEx Corporate Services, Inc.                           255 East Fifth Street
112 NORTH MAIN STREET                                    Cincinnati, OH 45202
Cumming, GA 30040

                                                         Georgia Capital Group LLC
Fesco, LTD.                                              PO Box 638251
1000 FESCO Avenue                                        Cincinnati, OH 45263
Alice, TX 78332

                                                         Georgia Department of Revenue
Fire Side Natural Gas, LLC                               1800 Century Boulevard
2655 Dallas Hwy #210                                     Suite 9100
Marietta, GA 30064                                       Atlanta, GA 30345-0000


Fort Hill Natural Gas Authority                          Georgia Power
311 S Pendleton St                                       96 Annex
Easley, SC 29640                                         Atlanta, GA 30396


Four Plus Corp.                                          Gordon Food Service
5251 Long Acre St #300                                   1300 Gezon Parkway SW
Montgomery, AL 36116                                     Wyoming, MI 49509


Fox Capital Group, Inc.                                  Green Christian Lawn Care
21701 STEVENS CREEK BLVD                                 1031 Roseclair Drive
UNIT 2796                                                North Little Rock, AR 72117
Cupertino, CA 95015
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Guardian Life Ins. Co.                                   Hunt Electric
PO Box 677458                                            1863 West Alexander Street
Dallas, TX 75267                                         Salt Lake City, UT 84119


Gwinnett County Water Resources                          Huseyin Civan
684 Winder Hwy NE                                        4501 Avalon Blvd
Lawrenceville, GA 30045                                  Alpharetta, GA 30009


Gwinnett Environmental Health                            Hutton QSR, LLC
455 Grayson Hwy, Suite 600                               736 Cherry St.
Lawrenceville, GA 30046                                  Chattanooga, TN 37402


HM Electronics, Inc.                                     Image Solutions
2848 Whiptail Loop W                                     4669 Crossroads Industrial
Carlsbad, CA 92010

                                                         Infiniti Financial Services
HPI Direct, Inc.                                         P.O. Box 660360
785 Goddard Ct                                           Dallas, TX 75266
Alpharetta, GA 30005

                                                         Integrated Cash Logistics, LLC
Hall Booth Smith, P.C.                                   4200 Governor Printz Boulevard
191 Peachtree St #2900                                   Wilmington, DE 19802
Atlanta, GA 30303

                                                         Internal Revenue Service
Healty International                                     CIO
11735 Pointe Place                                       P.O. Box 7346
Roswell, GA 30076                                        Philadelphia, PA 19101-7346


Hiller Plumbing, Heating, Cooling & Electrical           Jackson Electric Membership Corporation
915 Murfreesboro Pike                                    P.O. Box 38
Nashville, TN 37217                                      850 Commerce Road
                                                         Jefferson, GA 30549

Hobart Service- ITW Food Equipment Group
701 South Ridge Ave.                                     Johnson Controls
Troy, OH 45374                                           5757 N. Green Bay Ave.
                                                         PO Box 591
                                                         Milwaukee, WI 53201
Homeland Park Water
3231 D L Dr.
Anderson, SC 29624                                       Kennedy's Locksmithing
                                                         613 W Main St Suite B
                                                         Hendersonville, TN 37075
Hospitality Control Solutions
P.O. Box 40308
Nashville, TN 37204                                      Liberty Utilities
                                                         1766 Cleveland Hwy
                                                         Gainesville, GA 30501
Hotel & Restaurant Supply, Inc
2508 PERIMETER PLACE DRIVE
Nashville, TN 37214                                      MBU Development Holdings, LLC
                                                         1 Churchhill Plac
                                                         Canary Wharf
                                                         London, United Kingdom, E14 5HP
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MTN2, LLC                                             Middlebrooks Electric Service
PO BOX 10007                                          718 S. East St.
Murfreesboro, TN 37129                                Benton, AR 72015


Madison LLC                                           Midtown Park Associates, LLC
153-37 76th Road                                      1220 Washington Street
Flushing, NY 11367                                    Kansas City, MO 64105


Mark Peakes                                           Millennium Digital Technologies
c/o The Reddy Law Firm, P.C.                          655 W 13 Mile Rd
1325 Satellite Blvd.                                  Madison Heights, MI 48071
Suwanee, GA 30024

                                                      Mt Bethel United Methodist Church
Marmic Fire & Safety Co Inc                           4385 Lower Roswell Rd
1014 S Wall Ave                                       Marietta, GA 30068
Joplin, MO 64801

                                                      Murfreesboro Refrigeration Company
Maximum Maintenance                                   642 Evergreen Dr.
PO Box 11436                                          Murfreesboro, TN 37128
Atlanta, GA 30310

                                                      Murfreesboro Water Resources Dept
Mazuma Capital Corp.                                  300 NW Broad St
274 West 12300 South                                  Murfreesboro, TN 37130
Draper, UT 84020

                                                      My Georgia Electric LLC
Mc Duffie County Health Department                    3340 RIDGEFAIR DR
307 Greenway St                                       Cumming, GA 30040
Thomson, GA 30824

                                                      NCR Corporation
McDuffie Co Tax Comm                                  864 Spring St NW
210 Railroad St                                       Atlanta, GA 30308
Suite 1205 PO Box 955
Thomson, GA 30824
                                                      NUCo2, Inc.
                                                      2800 SE Market Place
McLane Company                                        Stuart, FL 34997
2085 Midway Road
Carrolton, TX 75006
                                                      Nashville Electric Service
                                                      1214 Church St
Metro Communications                                  Nashville, TN 37246
8 S Washington St.
PO Box 555
Sullivan, IL 61951                                    Navitas Credit Corp.
                                                      PO Box 979131
                                                      Miami, FL 33197
Metro Water Services
1700 3rd Ave N
Nashville, TN 37208                                   Netlink Voice
                                                      400 Liberty Park Ct
                                                      Flowood, MS 39232
Middle Tennessee Electric
P. O. Box 608 (37133)
Murfreesboro, TN 37128
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Newks Franchise Company, LLC                             Piedmont Natural Gas
2680 Crane Ridge Drive                                   4720 Piedmont Row Drive
Jackson, MS 39216                                        Charlotte, NC 28210


Nextwave Enterprises, LLC                                Pitney Bowes, Inc.
5757 Blue Lagoon Drive                                   3001 Summer Street
Suite 170                                                Stamford, CT 6296
Miami, FL 33126

                                                         Pounds Mechanical Services
Norris Legal Atlanta Law Group, LLC                      3207 Pinto Drive
Atlanta, GA 30309                                        Powder Springs, GA 30127


Oakley E. Van Slyke and Dena Van Slyke                   Proline Striping Service, Inc
209 Avenida Granada                                      7333 Paragon Road
San Clemente, CA 92672                                   Suite 200
                                                         Dayton, OH 45459

Oil Solutions Group
4801 Green Oaks Dr                                       Quick Bridge Funding, LLC
Colleyville, TX 76034                                    410 Exchange
                                                         Irvine, CA 92602

OnePoint
PO Box 1849                                              Quill, LLC
Woodstock, GA 30188                                      P.O. Box 37600
                                                         Philadelphia, PA 19101

Online Store LLC
1000 Westinghouse Dr                                     R.J. Stacy Service Company
New Stanton, PA 15672                                    Conway, AR 72034


Onsite Environmental                                     RB Perry LLC
1421 Baptist World Center Dr                             PO Box 160478
Nashville, TN 37202                                      Nashville, TN 37216


Parthenon Plumbing & HVAC                                REPUBLIC SERVICES OF GEORGIA GP, LLC
4751 Trousdale Drive                                     289 S Culver St
Nashville, TN 37220                                      Lawrenceville, GA 30046


Parts Town, LLC                                          RSM US LLP
1200 Greenbriar Dr.                                      One Atlantic Center 1201 West Peachtree St. NW, Suite
Addison, IL 60101                                        800
                                                         Atlanta, GA 30309

Patrice and Associates Franchising, Inc
10020 Southern Maryland Blvd Suite 100                   Ravsan Mirzoyev
Dunkirk, MD 20754                                        174 Rutherford PL
                                                         North Arlington, NJ 07031

Pawnee Leasing Corporation
3801 Automation Way                                      Resource Point of Sale LLC
Suite 207                                                1765 N Elston Avenue
Fort Collins, CO 80526                                   Chicago, IL 60642
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Retail Technology Group                               Shred-It USA
1663 Fenton Business Park Ct                          4010 Commercial Ave
Fenton, MO 63026                                      Northbrook, IL 60062


Richmond County Health Department                     Sicom Systems, Inc.
1916 North Leg Rd.                                    1325 Williams Dr
Augusta, GA 30909                                     Marietta, GA 30066


Ronnie Tubbs                                          Snagajob, Inc.
PO Box 145                                            4851 Lake Brook Drive
West Union, SC 29696                                  Glen Allen, VA 23060


Roto-Rooter Services Company                          South Carolina Department of Revenue
289 S. Culver St.                                     PO Box 125
Lawrenceville, GA 30046                               Columbia, SC 29214


Rule Joy Trammell & Rubio, LLC                        Southeastern Sound Inc
300 Galleria Pkwy #700                                3745 Dickerson Pike
Atlanta, GA 30339                                     Nashville, TN 37207


S & W Contracting Co., INC.                           Spartanburg Water System
952 New Salem Rd                                      200 Commerce St
Murfreesboro, TN 37129                                Spartanburg, SC 29306


SI Group of Restaurants 2, LLC                        Spectrum
4788 B Jonesboro Rd, ST. 3                            PO Box 70872
Union City, GA 30291                                  Charlotte, NC 28272


SI Group of Restaurants LLC                           Spring Home Builders, Inc.
4788 B Jonesboro Rd, ST. 3                            11735 Pointe Place
Union City, GA 30291                                  Roswell, GA 30076


SI Restaurants Development LLC                        Steve Culpepper
4788 B Jonesboro Rd, ST. 3                            26 N Winward Ct
Union City, GA 30291                                  Taylors, SC 29687


SLM Waste & Recycling Services                        Summerville Commissioners of Public Works
5000 Commerce Drive                                   215 N Cedar St
Green Lane, PA 18054                                  Summerville, SC 29483


SPG Anderson Mall, LLC                                Swift, Currie, McGhee & Hiers, LLP
CORPORATION TRUST CENTER 1209 ORANGE ST               1355 Peachtree St NE Suite 300
Wilmington, DE 19801                                  Atlanta, GA 30309


SecurCare Self Storage                                Sysco Atlanta
289 S. Culver Street                                  2225 Riverdale Rd
Lawrenceville, GA 30046                               College Park, GA 30337
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System 5 Electronics, Inc.                            WCM Funding, LLC
2820 Campbellton Rd SW                                116 Nassau St.
Atlanta, GA 30311                                     Suite 804
                                                      New York, NY 10038

TET Food Chain, LLC
3542 OLD MILTON PKWY                                  Wallis State Bank
Alpharetta, GA 30005                                  10055 Almeda Genoa, Suite 100
                                                      Houston, TX 77075

Taylor Freezer Sales Co. of GA, Inc.
247 Castleberry Industrial Dr                         Walton EMC
Cumming, GA 30040                                     P.O. Box 260
                                                      Monroe, GA 30655

Tennessee Department of Revenue
500 Deaderick Street                                  Warehouse of Hope Inc.
Nashville, TN 37242                                   100 Hunter Rd
                                                      Douglasville, GA 30134

Tennessee Knife Company, LLC
PO Box 12153                                          Wasserstrom Restaurant Supply
Murfreesboro, TN 37129                                P.O. Box 182056
                                                      Columbus, OH 43218

The Wasserstrom Company
P.O. Box 182056                                       Whaley Food Service
Columbus, OH 43218                                    5201 Brook Hollow Pkwy # E
                                                      Norcross, GA 30071

USA Paper & Ribbon Inc.
21270 Eight Mile Rd                                   Williams Sewer & Drain, Inc
Southfield, MI 48075                                  887 Stagecoach Rd NE
                                                      Thomson, GA 30824

USA Teleservices
371 Fore Street # 202                                 Windstream
Portland, ME 4101                                     4001 N Rodney Parham Rd
                                                      Little Rock, AR 72212

Unified Government of Athens-Clarke County
301 College Ave                                       Wow!
Athens, GA 30601                                      3714 Wheeler Road
                                                      Augusta, GA 30909

Utility Billing Services
PO Box 31569                                          Yogli Mogli Franchise, LLC
Clarksville, TN 37040                                 265 Turner Drive
                                                      Durango, CO 81303

Valley Proteins, Inc.
P.O. Box 3588                                         Zanacore Technology
Winchester, VA 22604                                  625 Beaver Ruin Rd
                                                      Lilburn, GA 30047

Visual Concepts
606 Sail Point Court
Columbia, SC 29212
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                                    United States Bankruptcy Court
                                    Northern District of Georgia




         Star Chain, Inc.
In re:                                                               Case No.

                                                                     Chapter    11
                       Debtor(s)




                                Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               10/02/2019                              /s/ Omer Casurluk
Date:
                                                      Signature of Individual signing on behalf of debtor

                                                       Manager
                                                      Position or relationship to debtor
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